EXHIBIT T
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 7
                 SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
 8

 9   BLC WATER COMPANY, LLC, INDIANA
     WATER TECHNOLOGY, LLC,                    No. 24-2-20247-1 SEA
10   COLEWSTECH, LLC, RCWSTECH 1157,
     LLC, ROYAL RESERVOIRS, LLC,               PLAINTIFFS’ FIRST REQUESTS FOR
11   CHAURISHI RETAIL ENTERPRISES, LLC,        PRODUCTION TO FIRST FED BANK
     KDAWG CRYPTO, LLC, PACIFIC WATER          AND FIRST NORTHWEST BANCORP
12   TECHNOLOGY, LLC, KWANSOO LEE,
     DDS, PLLC, KWANSOO LEE, BRIAN CHU,        RELATED CASES:
13   BRIAN CHU DDS, INC., LARINA CHU,
     LAURINA CHU DDS, INC., BRIAN AND          No. 24-2-12567-1 SEA
14   LAURINA CHU DDS, INC., DAVID              No. 24-2-19871-7 SEA
     SCHROEDER, SARAH SCHROEDER, RON           No. 24-2-10753-3 SEA
15   COLE, KAREN LAVIN, BASANT KUMAR,          No. 24-2-08418-5 SEA
     DEREN FLESHER, TYLER SADEK,
16   NATALIE SADEK, AND FOUNDERS
     MOSAIC PARTNERS, LLC,
17
                 Plaintiffs,
18
          v.
19
     FIRST FED BANK, FIRST NORTHWEST
20   BANCORP, NORMAN TONINA, CRAIG
     CURTIS, JENNIFER ZACCARDO, CINDY
21   FINNIE, DANA BEHAR, MATTHEW
     DEINES, SHERILYN ANDERSON,
22   GABRIEL GALANDA, LYNN
     TERWOERDS, JOHN DOES 1-10,
23
                 Defendants.
24
25

                                                                      CORR CRONIN LLP
      PLAINTIFFS’ FIRST REQUESTS FOR PRODUCTION TO               1015 Second Avenue, Floor 10
      FIRST FED BANK AND FIRST NORTHWEST BANCORP                Seattle, Washington 98104-1001
      –1                                                               Tel (206) 625-8600
                                                                       Fax (206) 625-0900
 1
            Pursuant to Civil Rules 26, 33 and 34, Plaintiffs hereby propounds their First
 2
     Interrogatories and Requests for Production (“Discovery Requests”) to Defendant First Fed
 3
     Bank and First Northwest Bancorp (“you” or “your”).
 4
                                             INSTRUCTIONS
 5
             1.     These requests are directed to you and cover all information in your possession,
 6
     custody, and control, including information in the possession, custody, and control of
 7
     Defendant, including without limitation your current or former officers or directors,
 8
     employees, agents, servants, representatives, your attorneys, or other persons directly or
 9
     indirectly employed or retained by you, or anyone else acting on your behalf or otherwise
10
     subject to your control, and any merged, consolidated, or acquired predecessor or successor,
11
     parent, subsidiary, division or affiliate.
12
             2.     Unless otherwise specifically provided herein, the documents that must be
13
     produced in response to the following requests for production include all responsive
14
     documents prepared, sent, dated, received, used, or in effect at any time during the period of
15
     January 1, 2015 through the present, including the date of any supplemental response (“the
16
     discoverable period”).
17
             3.     Use of the singular or plural in these requests should not be deemed a limitation
18
     and the use of the singular should be construed to include, where appropriate, the plural. The
19
     conjunctive form “and” and the disjunctive form “or” are mutually interchangeable and
20
     encompass each other. The terms “any” and “all” are mutually interchangeable and encompass
21
     each other.
22
             4.     Plaintiffs request that any documents withheld in whole or in part from
23
     production based on a claim of privilege are assigned unique document control numbers; and
24
     each attachment to a document shall be treated as a separate document and separately logged,
25

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 1
     if withheld, and cross referenced, if produced. Please also provide a statement of the claim of
 2
     privilege and all facts relied upon in support of the decision to withhold each document, in the
 3
     form of a log, which, for each document withheld, states:
 4
                   a.      The document’s control numbers;
 5
                   b.      All authors of the document;
 6
                   c.      All addressees of the document;
 7
                   d.      All recipients of the document, or of any copies of the document to the
 8
                           extent not included among the document’s addressees;
 9
                   e.      The date of the document;
10
                   f.      The nature or type of the privilege that you are asserting for the document
11
                           (e.g. “attorney-client privilege”);
12
                   g.      A description of the subject matter of the document, describing the
13
                           nature of the document in a manner that, while not revealing information
14
                           that is itself privileged, provides sufficiently detailed information to
15
                           enable Plaintiff to assess the applicability of the privilege claimed;
16
                   h.      The request to which the document is responsive;
17
                   i.      The document control numbers of any attachments to the document,
18
                           regardless of whether any privilege is being asserted for such
19
                           attachments; and
20
                   j.      Whether the document has been produced in partially redacted form or
21
                           withheld entirely.
22
            5.     The definition of “document” used herein includes data stored in any electronic
23
     form. You are required to review such data and determine whether it contains material
24
     responsive to these requests. If you have not already done so, you should immediately take all
25

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 1
     steps necessary to preserve the following categories of electronic data that contain information
 2
     responsive to Plaintiff’s discovery requests:
 3
                   a.      All electronic mail, information about electronic mail (including but not
 4
                           limited to information on message contents, header information, and logs
 5
                           of electronic mail system usage), any attachments, and any other
 6
                           electronic communications including any data from instant messaging
 7
                           programs, internet relay chat systems, or any voicemail programs
 8
                           containing information responsive to these requests;
 9
                   b.      All files containing information from electronic calendars or scheduling
10
                           programs responsive to these requests;
11
                   c.      All user-created files (including but limited to word processing files,
12
                           spreadsheets, and slide presentations) that contain information
13
                           responsive to these requests;
14
                   d.      All databases (including all records and fields and structural information
15
                           in such databases) or other data files that contain any information (such
16
                           as sales, pricing, customer, financial, accounting, and billing
17
                           information) responsive to these requests;
18
                   e.      All logs of activity on computer systems that may have been used to
19
                           process or to store electronic data containing information responsive to
20
                           these requests;
21
                   f.      All electronic data files created or used by spreadsheet programs that
22
                           contain information responsive to these requests; and
23
                   g.      All other electronic data containing information that is responsive to
24
                           these requests.
25

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 1
            6.    Unless otherwise requested, electronic documents (e.g., email) and data shall be
 2
     produced in searchable electronic format as follows:
 3
                  a.      Unless otherwise stated, the requested production format for all
 4
                          documents is single page TIFF images with multi-page text files, load
 5
                          files and native links. The load file should be produced in a format
 6
                          capable of being imported into Relativity litigation software. The
 7
                          parties may confer on specific metadata fields and may agree to a
 8
                          different form of production. In all cases, however, you should
 9
                          produce documents in native format, or such other format upon which
10
                          the parties mutually agree, and, in all cases, preserving original
11
                          metadata and source information;
12
                  b.      All image files should include an OCR text file;
13
                  c.      All files should be labeled with a Bates or control number;
14
                  d.      Parent/child attachment relationships should be maintained;
15
                  e.      All image files should have a minimum resolution of 300 dpi and meet
16
                          commonly accepted production standards to ensure that the image file is
17
                          reliable and authentic;
18
                  f.      The metadata fields should include: DoclD, EndDoc, Document Date,
19
                          Sent Date (for email), File Name, Email Subject, File Type or File
20
                          Extension, Email To, Email From, Email CC, Author, Link to native file,
21
                          Begattach/Endattach or attachrange, File Extension, MD5 Hash, and
22
                          Custodian;
23
                  g.      PowerPoint and Excel documents should be produced in native format
24
                          with all metadata preserved, including speaker notes. Spreadsheets
25

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 1
                           created with other software should be produced in a comma delimited
 2
                           format capable of being opened in Excel;
 3
                   h.      All hard copy documents for which native electronics files never existed,
 4
                           no longer exist, or are not reasonably accessible also should be produced
 5
                           in single TIFF format. This includes, but is not limited to, scanned
 6
                           images of those documents which contain unique information after they
 7
                           were printed out, such as paper documents containing handwriting,
 8
                           signatures, marginalia, drawings, annotations, highlighting, and
 9
                           redactions. All scanned documents should be kept as they are in regular
10
                           course of business or in the alternative provide information identifying
11
                           the custodian for each document; and
12
                   i.      Audio, video, or other recorded information shall be provided separately
13
                           on a DVD or other storage device capable of being played on Windows
14
                           in a .wav or .mpeg format.
15
            7.     If any document responsive to these requests is no longer in your possession,
16
     custody, or control, state (i) what was done with the document; (ii) the identity and contact
17
     information of the current custodian of the document; (iii) the reason for the transfer or
18
     disposition of the document; and (iv) the identity and contact information of the person who
19
     made the decision to transfer or dispose of the document.
20
            8.     If any document request cannot be answered fully, please provide as full an
21
     answer as possible, with a complete statement of the reason for the inability to fully respond.
22
            9.     The propounding party acknowledges the possibility that you may object to a
23
     particular document request as vague or burdensome. A party cannot always determine in
24
     advance which requests might genuinely be vague or unduly burdensome to the opposing
25

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     –6                                                                            Tel (206) 625-8600
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 1
     party. It is anticipated that you will respond to all Requests for Production to the best of your
 2
     ability and in good faith, preserving any bona fide objections if necessary. It is further
 3
     anticipated, and good practice would certainly dictate, that you will promptly attempt to obtain
 4
     clarification regarding requests from the undersigned (who stand ready and willing to provide
 5
     any such clarity) if the facts of the particular situation so require. When in doubt, the request
 6
     should be interpreted consistent with their common meaning and standard English dictionary.
 7
            10.     These requests are continuing and, to the full extent required under CR 26(e),
 8
     you must seasonably supplement your responses upon the discovery of new or additional
 9
     information.
10
                                            DEFINITIONS
11
            As used herein:
12
            1.      “Document(s)” means the original or any non-identical copies of all written,
13
     recorded, graphic material and all electronic data of every kind, whether prepared by you or
14
     by any other person, including drafts, that is in your possession, custody, or control, including
15
     but not limited to: memoranda, reports, letters, telegrams, and other communications recorded
16
     in any form or medium; notes, minutes, and transcripts of conferences, meetings and telephone
17
     or other communications; contracts and other agreements; checks, check registers, statements,
18
     ledgers, and other records of financial matters or commercial transactions; appointment books,
19
     calendars, notebooks, and diaries, including data in PDAs; maps, diagrams, graphs, and charts;
20
     plans and specifications; publications; photographs; photocopies; microfilm; and other copies
21
     or reproductions; computer printouts, tallies, tabulations, and summaries of sales or bids; and
22
     all file folders, file tabs, folder tabs, mailing envelopes, facsimile transmission cover sheets,
23
     and any other proof or indicia of mailing (if applicable) associated with each original. The
24
     term “document” includes spreadsheets, as well as underlying cell formulae and other codes.
25

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 1
     The term “document” also includes electronic mail messages and other documents and data
 2
     stored in, or accessible through, computer or other information retrieval systems, such as
 3
     personal computers, workstations, minicomputers, personal data assistants, archival voice
 4
     storage systems, group and collaborative tools, electronic messaging devices, portable or
 5
     removable storage media, mainframes, servers, backup disks and tapes, archive disks and
 6
     tapes, and other forms of online or offline storage, whether on or off of your premises. The
 7
     term “document” includes all data (including metadata, embedded, hidden and other
 8
     bibliographic or historical data describing or relating to documents created, revised, or
 9
     distributed on computer systems) stored in electronic form or accessible through computer or
10
     other information retrieval systems, together with instructions and all other materials necessary
11
     to use or interpret this data. Unless specifically requested, the term “document” excludes non-
12
     electronic forms of invoices, bills of lading, purchase orders, customs declarations, and other
13
     similar documents of a purely transactional nature. The reference to specific types, categories,
14
     or formats of documents in any specific Request for Production in no way limits or diminishes
15
     the scope of the term “document” for purposes of the request.
16
            2.     “Communication(s)” means any oral or written expression, disclosure, transfer,
17
     transmission, or exchange of information or any nonverbal conduct of a person intended by
18
     that person to be a substitute for an oral or written expression, disclosure, transfer,
19
     transmission, or exchange of information, in whatever form, by whatever means, including,
20
     but not limited to, oral, written, face-to-face, email, telephone, facsimile, electronic, text
21
     messages, voicemail, postal mail, personal delivery, or otherwise.
22
            3.     “Identify” means:
23

24
25

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 1
                    a.      In the case of a person other than a natural person, its legally registered
 2
                            name, the address of its principal place of business, its telephone number,
 3
                            and the name of its chief executive officer;
 4
                    b.      In the case of a natural person, his or her full name (including middle
 5
                            name), home address and telephone number, business address and phone
 6
                            number, last known cellular or mobile telephone number(s), their last
 7
                            known employer, the positions held by each person during the
 8
                            discoverable period, and the dates of tenure in each such position; and
 9
                    c.      In the case of a communication, its date, its type (e.g., telephone
10
                            conversation, letter, electronic mail, or meeting), the place where it
11
                            occurred, the identity of the persons who made it, the identity of the
12
                            persons who received it or who were present when it was made, and the
13
                            subject matter discussed.
14
              4.    “Relating to” or “relate to” or “regarding” means directly or indirectly refer or
15
     pertain to, discuss, describe, reflect, contain, examine, analyze, study, report on, comment on,
16
     evidence, constitute, show, consider, recommend, concern, record, or set forth, in whole or in
17
     part.
18
             5.     “You” or “Your” or “First Fed” means First Fed Bank and/or First Northwest
19
     Bancorp and or any of their partners, owners, members, agents, affiliates, subsidiaries, parents,
20
     servants, employees, officers, successors, licensees, partners, contractors (including, but not
21
     limited to, Turning Point), and assigns, and all persons acting in concert or participation with
22
     each or any of them or on any of their behalf.
23
             6.      “Houk” or “Larry Houk” means Defendant Larry Houk and/or Northwest
24
     Financial Services, LLC, and/or any person or entity acting on their behalf.
25

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      –9                                                                            Tel (206) 625-8600
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 1
            7.      “Nooney” or “Kevin Nooney” means Defendant Kevin Nooney and/or any
 2
     person or entity acting on his behalf.
 3
            8.      “Unibank” means UniBank and/or its partners, owners, members, agents,
 4
     affiliates, subsidiaries, parents, servants, employees, officers, successors, licensees, partners,
 5
     contractors, and assigns, and all persons acting in concert or participation with each or any of
 6
     them or on their behalf.
 7
            9.      “Turning Point” means TurningPointe LLC d/b/a Turning Point Strategic
 8
     Advisors and/or any of its partners, owners, members, agents, affiliates, subsidiaries, parents,
 9
     servants, employees, officers, successors, licensees, partners, contractors, and assigns, and all
10
     persons acting in concern or participation with each or any of them or on their behalf
11
            10.     The term “Wear” refers to Ryan Wear and/or the business known as
12
     “WaterStation Technology,” and any of its present and former affiliates, subsidiaries, agents,
13
     employees, servants, attorneys, representatives, and any and all persons acting or who have
14
     acted for or on their behalf, including, without limitation, Kevin Nooney or Larry Houk.
15
                                  REQUESTS FOR PRODUCTION
16
     REQUEST FOR PRODUCTION NO. 1: Produce all documents and communications sent
17
     to or received from Wear referencing and/or related to any of the following:
18
        a) Loan inquiries or applications submitted by Wear and your review, investigation, and/or
19
            evaluation of such inquiries and/or applications;
20
        b) Loans to Wear and/or any underwriting or pre- or post-closing due diligence activities
21
            relating to any such loans;
22
        c) Loan inquiries, applications, and/or information submitted by or on behalf of any actual
23
            or potential investor in Wear, including but not limited to the Plaintiffs in this action to
24
            whom First Fed issued loans;
25

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 1
        d) Loans to Plaintiffs or any other investor in Wear and/or any underwriting or pre- or post-
 2
            closing due diligence activities relating to any such loans;
 3
        e) Information regarding any Wear-related collateral, including, without limitation, real
 4
            estate, water vending machines, leases, and/or equipment lists;
 5
        f) Referrals to or from Wear;
 6
        g) Commissions or compensation paid to Houk;
 7
        h) Any and all agreements or loan programs with Wear, including without limitation credit
 8
            referral and/or enhancement agreements, and all drafts thereof;
 9
        i) Investments in Wear;
10
        j) Potential investors in Wear;
11
        k) The qualifications and/or financial means of investors in Wear;
12
        l) Wear’s business and/or financial information;
13
        m) Wear’s business practices, credit worthiness, and/or financial condition; and/or
14
        n) Wear’s solvency and/or ability to satisfy obligations.
15
     RESPONSE:
16

17
     REQUEST FOR PRODUCTION NO. 2: Produce all documents and communications sent
18
     to or received from Larry Houk referencing and/or relating to any of the following:
19
        a) Loan inquiries or applications submitted by Wear and your review, investigation, and/or
20
            evaluation of such inquiries and/or applications;
21
        b) Loans to Wear and/or any underwriting or pre- or post-closing due diligence activities
22
            relating to any such loans;
23

24
25

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                                                                                     Fax (206) 625-0900
 1
        c) Loan inquiries, applications, and/or information submitted by or on behalf of any actual
 2
            or potential investor in Wear, including but not limited to the Plaintiffs in this action to
 3
            whom First Fed issued loans;
 4
        d) Loans to Plaintiffs or any other investor in Wear and/or any underwriting or pre- or post-
 5
            closing due diligence activities relating to any such loans;
 6
        e) Information regarding any Wear-related collateral, including, without limitation, real
 7
            estate, water vending machines, leases, and/or equipment lists;
 8
        f) Referrals to or from Wear;
 9
        g) Commissions or compensation paid to Houk;
10
        h) Any and all agreements or loan programs with Wear, including without limitation credit
11
            referral and/or enhancement agreements, and all drafts thereof;
12
        i) Investments in Wear;
13
        j) Potential investors in Wear;
14
        k) The qualifications and/or financial means of investors in Wear;
15
        l) Wear’s business and/or financial information;
16
        m) Wear’s business practices, credit worthiness, and/or financial condition; and/or
17
        n) Wear’s solvency and/or ability to satisfy obligations.
18
     RESPONSE:
19

20
     REQUEST FOR PRODUCTION NO. 3: Produce all documents and communications sent
21
     to or received from Kevin Nooney referencing and/or related to any of the following:
22
        a) Loan inquiries or applications submitted by Wear and your review, investigation, and/or
23
            evaluation of such inquiries and/or applications;
24
25

                                                                                   CORR CRONIN LLP
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      – 12                                                                           Tel (206) 625-8600
                                                                                     Fax (206) 625-0900
 1
        b) Loans to Wear and/or any underwriting or pre- or post-closing due diligence activities
 2
            relating to any such loans;
 3
        c) Loan inquiries, applications, and/or information submitted by or on behalf of any actual
 4
            or potential investor in Wear, including but not limited to the Plaintiffs in this action to
 5
            whom First Fed issued loans;
 6
        d) Loans to Plaintiffs or any other investor in Wear and/or any underwriting or pre- or post-
 7
            closing due diligence activities relating to any such loans;
 8
        e) Information regarding any Wear-related collateral, including, without limitation, real
 9
            estate, water vending machines, leases, and/or equipment lists;
10
        f) Referrals to or from Wear;
11
        g) Commissions or compensation paid to Houk;
12
        h) Any and all agreements or loan programs with Wear, including without limitation credit
13
            referral and/or enhancement agreements, and all drafts thereof;
14
        i) Investments in Wear;
15
        j) Potential investors in Wear;
16
        k) The qualifications and/or financial means of investors in Wear;
17
        l) Wear’s business and/or financial information;
18
        m) Wear’s business practices, credit worthiness, and/or financial condition; and/or
19
        n) Wear’s solvency and/or ability to satisfy obligations.
20
     RESPONSE:
21

22

23
     REQUEST FOR PRODUCTION NO. 1: Produce all documents and communications sent
24
     to or received from Turning Point referencing and/or related to any of the following:
25

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      – 13                                                                           Tel (206) 625-8600
                                                                                     Fax (206) 625-0900
 1
       a) Loan inquiries or applications submitted by Wear and your review, investigation, and/or
 2
          evaluation of such inquiries and/or applications;
 3
       b) Loans to Wear and/or any underwriting or pre- or post-closing due diligence activities
 4
          relating to any such loans;
 5
       c) Loan inquiries, applications, and/or information submitted by or on behalf of any actual
 6
          or potential investor in Wear, including but not limited to the Plaintiffs in this action to
 7
          whom First Fed issued loans;
 8
       d) Loans to Plaintiffs or any other investor in Wear and/or any underwriting or pre- or post-
 9
          closing due diligence activities relating to any such loans;
10
       e) Information regarding any Wear-related collateral, including, without limitation, real
11
          estate, water vending machines, leases, and/or equipment lists;
12
       f) Referrals to or from Wear;
13
       g) Commissions or compensation paid to Houk;
14
       h) Any and all agreements or loan programs with Wear, including without limitation credit
15
          referral and/or enhancement agreements, and all drafts thereof;
16
       i) Investments in Wear;
17
       j) Potential investors in Wear;
18
       k) The qualifications and/or financial means of investors in Wear;
19
       l) Wear’s business and/or financial information;
20
       m) Wear’s business practices, credit worthiness, and/or financial condition; and/or
21
       n) Wear’s solvency and/or ability to satisfy obligations.
22
     RESPONSE:
23

24
25

                                                                                 CORR CRONIN LLP
     PLAINTIFFS’ FIRST REQUESTS FOR PRODUCTION TO                            1015 Second Avenue, Floor 10
     FIRST FED BANK AND FIRST NORTHWEST BANCORP                             Seattle, Washington 98104-1001
     – 14                                                                          Tel (206) 625-8600
                                                                                   Fax (206) 625-0900
 1
     REQUEST FOR PRODUCTION NO. 2: Produce all documents and communications sent
 2
     to or received from Unibank referencing and/or relating to any of the following:
 3
        a) Loan inquiries or applications submitted by Wear and your review, investigation, and/or
 4
            evaluation of such inquiries and/or applications;
 5
        b) Loans to Wear and/or any underwriting or pre- or post-closing due diligence activities
 6
            relating to any such loans;
 7
        c) Loan inquiries, applications, and/or information submitted by or on behalf of any actual
 8
            or potential investor in Wear, including but not limited to the Plaintiffs in this action to
 9
            whom First Fed issued loans;
10
        d) Loans to Plaintiffs or any other investor in Wear and/or any underwriting or pre- or post-
11
            closing due diligence activities relating to any such loans;
12
        e) Information regarding any Wear-related collateral, including, without limitation, real
13
            estate, water vending machines, leases, and/or equipment lists;
14
        f) Referrals to or from Wear;
15
        g) Commissions or compensation paid to Houk;
16
        h) Any and all agreements or loan programs with Wear, including without limitation credit
17
            referral and/or enhancement agreements, and all drafts thereof;
18
        i) Investments in Wear;
19
        j) Potential investors in Wear;
20
        k) The qualifications and/or financial means of investors in Wear;
21
        l) Wear’s business and/or financial information;
22
        m) Wear’s business practices, credit worthiness, and/or financial condition; and/or
23
        n) Wear’s solvency and/or ability to satisfy obligations.
24
     RESPONSE:
25

                                                                                   CORR CRONIN LLP
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      – 15                                                                           Tel (206) 625-8600
                                                                                     Fax (206) 625-0900
 1
     REQUEST FOR PRODUCTION NO. 6: To the extent not produced in response to previous
 2
     requests, produce all documents and communications with any party or third party (other than
 3
     your legal counsel) referencing and/or related to any of the following:
 4
        a) Loan inquiries or applications submitted by Wear and your review, investigation, and/or
 5
            evaluation of such inquiries and/or applications;
 6
        b) Loans to Wear and/or any underwriting or pre- or post-closing due diligence activities
 7
            relating to any such loans;
 8
        c) Loan inquiries, applications, and/or information submitted by or on behalf of any actual
 9
            or potential investor in Wear, including but not limited to the Plaintiffs in this action to
10
            whom First Fed issued loans;
11
        d) Loans to Plaintiffs or any other investor in Wear and/or any underwriting or pre- or post-
12
            closing due diligence activities relating to any such loans;
13
        e) Information regarding any Wear-related collateral, including, without limitation, real
14
            estate, water vending machines, leases, and/or equipment lists;
15
        f) Referrals to or from Wear;
16
        g) Commissions or compensation paid to Houk;
17
        h) Any and all agreements or loan programs with Wear, including without limitation credit
18
            referral and/or enhancement agreements, and all drafts thereof;
19
        i) Investments in Wear;
20
        j) Potential investors in Wear;
21
        k) The qualifications and/or financial means of investors in Wear;
22
        l) Wear’s business and/or financial information;
23
        m) Wear’s business practices, credit worthiness, and/or financial condition; and/or
24
        n) Wear’s solvency and/or ability to satisfy obligations.
25

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      – 16                                                                            Tel (206) 625-8600
                                                                                      Fax (206) 625-0900
 1
     RESPONSE:
 2

 3
     REQUEST FOR PRODUCTION NO. 7: Produce all documents and communications
 4
     referencing and/or related to whether any loans to Wear, loans to fund any investor’s investment
 5
     in WST, and/or loan programs or portfolio related to Wear comply with and/or violate U.S.
 6
     Small Business Administration (“SBA”) rules, policies, guidelines, regulations and/or
 7
     standards.
 8
     RESPONSE:
 9

10
     REQUEST FOR PRODUCTION NO. 8: Produce all documents and communications
11
     referencing and/or related to whether any loans to Wear, loans to fund any investor’s investment
12
     in Wear, and/or loan programs or portfolio related to Wear comply with and/or violate Federal
13
     Deposit Insurance (“FDIC”) rules, policies, guidelines, regulations and/or standards.
14
     RESPONSE:
15

16
     REQUEST FOR PRODUCTION NO. 9: Produce all documents and communications
17
     referencing and/or related to whether any loans to Wear, loans to fund any investor’s investment
18
     in Wear, and/or loan programs or portfolio related to Wear comply with and/or violate
19
     Washington State Department of Financial Institutions (“DFI”) rules, policies, guidelines,
20
     regulations and/or standards.
21
     RESPONSE:
22

23
     REQUEST FOR PRODUCTION NO. 10: Produce all documents and communications
24
     referencing and/or related to whether any loans to Wear, loans to fund any investor’s investment
25

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      – 17                                                                         Tel (206) 625-8600
                                                                                   Fax (206) 625-0900
 1
     in Wear, and/or loan programs or portfolio related to Wear comply with and/or violate your
 2
     internal rules, policies, guidelines, regulations and/or standards.
 3
     RESPONSE:
 4

 5
     REQUEST FOR PRODUCTION NO. 11: Produce all documents and communications sent
 6
     to or received from the SBA, FDIC, or DFI, referencing and/or related to Wear and/or loans to
 7
     Wear investors.
 8
     RESPONSE:
 9

10
     REQUEST FOR PRODUCTION NO. 12: Produce all documents and communications sent
11
     to or received from FDIC referencing and/or related to Wear and or loans to Wear investors.
12
     RESPONSE:
13

14
     REQUEST FOR PRODUCTION NO. 13: Produce all documents and communications sent
15
     to or received from DFI referencing and/or related to Wear and or loans to Wear investors.
16
     RESPONSE:
17

18
     REQUEST FOR PRODUCTION NO. 14: To the extent not produced in response to the
19
     previous requests stated herein, produce all documents and communications referencing and/or
20
     related to any supervision, evaluation, and/or investigation conducted by DFI, SBA, FDIC,
21
     and/or any other state or federal agency or regulatory entity referencing and/or related to Wear
22
     and or loans to Wear investors.
23
     RESPONSE:
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25

                                                                                 CORR CRONIN LLP
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      – 18                                                                         Tel (206) 625-8600
                                                                                   Fax (206) 625-0900
 1
     REQUEST FOR PRODUCTION NO. 15: Produce all commercial lending rules, policies,
 2
     guidance, and/or procedures regarding loan eligibility, loan products, loan staff and loan
 3
     committees, loan underwriting and/or due diligence, transactions with brokers, loan approval,
 4
     loan closing, loan monitoring, portfolio management, delinquency, loan foreclosure and/or loan
 5
     write-offs.
 6
     RESPONSE:
 7

 8
     REQUEST FOR PRODUCTION NO. 16: Produce all documents and communications
 9
     related to secured and unsecured lending authorities of each employee who worked on or
10
     assisted with loans related in any way to WST, including, without limitation, Kasi O’Leary,
11
     Kevin McDaniel, and/or Matt Deines.
12
     RESPONSE:
13

14
     REQUEST FOR PRODUCTION NO. 17: Produce all personnel files for each employee
15
     who worked on or assisted with loans related to Wear, including, without limitation, Kasi
16
     O’Leary, Kevin McDaniel, and/or Matt Deines.
17
     RESPONSE:
18

19
     REQUEST FOR PRODUCTION NO. 18: Produce all documents and communications
20
     reflecting or related to any meeting minutes, resolutions, directives, or any other corporate
21
     action or oversight by your directors, governors, board of directors, board of governors, and/or
22
     any subcommittee or work group thereof, from January 1, 2019 to present.
23
     RESPONSE:
24
25

                                                                                 CORR CRONIN LLP
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      – 19                                                                         Tel (206) 625-8600
                                                                                   Fax (206) 625-0900
 1
     REQUEST FOR PRODUCTION NO. 19: Produce all documents and communications
 2
     reflecting or related to any meeting minutes, resolutions, directives, or any other corporate
 3
     action or oversight by your loan committee and/or members of the loan committee, and/or any
 4
     subcommittee or work group thereof, from January 1, 2019 to present.
 5
     RESPONSE:
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 7
     REQUEST FOR PRODUCTION NO. 20: Produce all documents and communications
 8
     reflecting or related to any meeting minutes, resolutions, directives, or any other corporate
 9
     action or oversight by your audit committee and/or members of the audit committee, and/or any
10
     subcommittee or work group thereof, from January 1, 2019 to present.
11
     RESPONSE:
12

13
     REQUEST FOR PRODUCTION NO. 21: Produce all documents and communications
14
     reflecting and/or related to any reports or findings of internal or external audits or investigations
15
     from January 1, 2019 to present.
16
     RESPONSE:
17

18
     REQUEST FOR PRODUCTION NO. 22: To the extent not produced in response to the
19
     previous requests stated herein, complete credit and loan files regarding any and all actual or
20
     potential investors in Wear, including Plaintiffs to whom you issued loans.
21
     RESPONSE:
22

23
     REQUEST FOR PRODUCTION NO. 23: Produce a complete record of payments to Larry
24
     Houk and/or Northwest Financial Services LLC from January 1, 2015 to present.
25

                                                                                     CORR CRONIN LLP
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      – 20                                                                             Tel (206) 625-8600
                                                                                       Fax (206) 625-0900
 1
     RESPONSE:
 2

 3
     REQUEST FOR PRODUCTION NO. 24: To the extent not produced in response to the
 4
     previous requests stated herein, produce all documents and communications reflecting or
 5
     related to any contracts and/or agreements with any of the Defendants named herein, including
 6
     any drafts related thereto.
 7
     RESPONSE:
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 9
     REQUEST FOR PRODUCTION NO. 25: Produce all account statements, signature cards,
10
     wire transfer receipts, deposited items, and/or cancelled checks, regarding Wear.
11
     RESPONSE:
12

13   REQUEST FOR PRODUCTION NO. 26: To the extent not produced in response to the
14   previous requests stated herein, produce all documents and communications reflecting or
15
     related to any suspicious activity reports, AML compliance, FinCen compliance, fraud
16
     prevention and/or fraud alerts, and/or internal compliance with respect to Wear.
17

18   RESPONSE:
19

20   REQUEST FOR PRODUCTION NO. 27: To the extent not produced in response to the
21   previous requests stated herein, produce all documents and communications reflecting or
22   related to any contracts and/or agreements with any of the Plaintiffs named herein to whom you
23   issued a loan, including any drafts related thereto.
24   RESPONSE:
25

                                                                                CORR CRONIN LLP
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      – 21                                                                        Tel (206) 625-8600
                                                                                  Fax (206) 625-0900
 1
     REQUEST FOR PRODUCTION NO. 28: To the extent not produced in response to the
 2
     previous requests stated herein, produce all communications referencing or related to any of the
 3
     Defendants named herein.
 4
     RESPONSE:
 5

 6
     REQUEST FOR PRODUCTION NO. 29: Produce all documents and communications
 7
     referencing and/or related to loans or credit to Wear, including, but not limited to, any
 8
     applications for the loans, the approval, issuance, and/or administration of such loans, and/or
 9
     the default, workout and/or collateralization of the loans.
10
     RESPONSE:
11

12
     REQUEST FOR PRODUCTION NO. 30: Produce all documents and communications
13
     referencing and/or related to whether any loans to Wear, loans to fund any investor’s investment
14
     in Wear, and/or loan programs or portfolio related to Wear comply with and/or violate industry
15
     rules, policies, guidelines, regulations and/or standards.
16
     RESPONSE:
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                                                                                 CORR CRONIN LLP
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      – 22                                                                         Tel (206) 625-8600
                                                                                   Fax (206) 625-0900
 1        DATED this 9th day of September, 2024.
 2                                                 CORR CRONIN LLP
 3

 4                                                 s/ John T. Bender
                                                   John T. Bender, WSBA No. 49658
 5                                                 CORR CRONIN LLP
                                                   1015 Second Avenue, Floor 10
 6                                                 Seattle, WA 98104-1001
 7                                                 Telephone: 206-625-8600
                                                   Email: jbender@corrcronin.com,
 8
                                                   Jack M. Lovejoy
 9                                                 CORR CRONIN LLP
                                                   1015 Second Avenue, Floor 10
10                                                 Seattle, WA 98104-1001
11                                                 Telephone: 206-625-8600
                                                   Email: jlovejoy@corrcronin.com
12
                                                   Counsel for Plaintiffs Indiana Water
13                                                 Technology, LLC, BLC Water Company,
                                                   COLEWSTECH, LLC, RCWSTECH 1157,
14
                                                   LLC, Royal Reservoirs, LLC, Chaurishi
15                                                 Retail Enterprises, LLC, Pacific Water
                                                   Technology, LLC, Kwansoo Lee, Brian
16                                                 Chu, Larina Chu, David Schroeder, Sarah
                                                   Schroeder, Ron Cole, Karen Lavin, and
17                                                 Basant Kumar
18
                                                   MIX SANDERS THOMPSON, PLLC
19
                                                   s/Michael K. Rhodes
20                                                 Michael K Rhodes, WSBA No. 41911
                                                   Mix Sanders Thompson, PLLC
21                                                 1601 5th Ave., Ste. 1800
                                                   Seattle, WA 98101
22
                                                   Phone: 206-678-1000
23                                                 Fax: 888-521-5980

24                                                 MERCHO STRZYNSKI LLP
25

                                                                         CORR CRONIN LLP
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     – 23                                                                  Tel (206) 625-8600
                                                                           Fax (206) 625-0900
 1                                                Tarek E. Mercho (Pro Hac Vice
                                                  Forthcoming)
 2                                                8935 N. Meridian St., Suite 112
 3                                                Indianapolis, IN 46260
                                                  317-722-0607
 4                                                tk@msfirm.law

 5                                                Counsel for Plaintiffs Mosaic Capital
                                                  Partners and Tyler and Natalie Sadek
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                                                                          CORR CRONIN LLP
        PLAINTIFFS’ FIRST REQUESTS FOR PRODUCTION TO                  1015 Second Avenue, Floor 10
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                                                                            Fax (206) 625-0900
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